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              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 12-571V
                                   (Not to be published)

*****************************
                                *
TERRI LASTER, on behalf of MARC *
LASTER, her deceased husband,   *
                                *
                   Petitioner,  *                            Filed: September 3, 2014
                                *
            v.                  *                            Decision by Stipulation; Damages;
                                *                            Influenza (“Flu”) Vaccine;
                                *                            Progressive Respiratory Distress
SECRETARY OF HEALTH AND         *                            Resulting in Death
HUMAN SERVICES,                 *
                                *
                   Respondent.  *
                                *
*****************************

Isaiah Richard Kalinowski, Maglio Christopher and Toale, PA (D.C.), for Petitioner.

Ryan Daniel Pyles, U.S. Dep’t of Justice, Washington, D.C., for Respondent

                            DECISION AWARDING DAMAGES1

        On September 5, 2012, on behalf of the Estate of Marc Laster, Petitioner Terri Laster
filed a petition seeking compensation under the National Vaccine Injury Compensation Program
(“the Vaccine Program”).2 Petitioner alleges that as a result of receiving the influenza (“flu”)

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. § 300aa-12(d)(4)(B),
however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the
public. (Id.)
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
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vaccine Mr. Laster suffered from an illness involving progressive respiratory distress, resulting
in his death.

        Respondent denies that Mr. Laster’s alleged injury and/or any other injuries were caused
by his receipt of the flu vaccine. Moreover, Respondent denies that the flu immunization
contributed to, or resulted in, Mr. Laster’s death. Nonetheless both parties, while maintaining
their above-stated positions, agreed in a stipulation filed September 2, 2014 that the issues before
them can be settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

       The stipulation awards:

              A lump sum of $75,000.00, in the form of a check payable to Petitioner as legal
              representative of the Estate of Marc Laster. This amount represents compensation
              for all damages that would be available under 42 U.S.C. § 300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


       IT IS SO ORDERED.

                                                          /s/ Brian H. Corcoran
                                                             Brian H. Corcoran
                                                             Special Master




42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or
separately) filing a notice renouncing their right to seek review.

                                                 2
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